Case 2:23-cv-00589-JRG-RSP Document 12 Filed 02/16/24 Page 1 of 2 PageID #: 53




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


DISPLAY TECHNOLOGIES, LLC,

              Plaintiff,                                 C.A. No. 2:23-cv-00589-JRG-RSP

      v.                                                 JURY TRIAL DEMANDED

DEXCOM, INC.,

              Defendant.

                           DEFENDANT DEXCOM, INC.’S
                       CORPORATE DISCLOSURE STATEMENT

       As required by Rule 7.1 of the Federal Rules of Civil Procedure, Defendant DexCom, Inc.

(“DexCom”) states that DexCom is a publicly traded company (NASDAQ: DXCM). DexCom has

no parent company and based on its knowledge at the time of filing, Vanguard Group Inc. owns

more than 10% of DexCom’s stock.
Case 2:23-cv-00589-JRG-RSP Document 12 Filed 02/16/24 Page 2 of 2 PageID #: 54




Dated: February 16, 2024                  FISH & RICHARDSON P.C.


                                          By: /s/ Aaron P. Pirouznia
                                              Neil J. McNabnay
                                              Texas Bar No. 24002583
                                              mcnabnay@fr.com
                                              Aaron Pirouznia
                                              Texas Bar No. 24098958
                                              pirouznia@fr.com
                                              Nan Lan
                                              Texas Bar No. 24121711
                                              lan@fr.com
                                              Alexander Martin
                                              Texas Bar No. 24091828
                                              martin@fr.com
                                              1717 Main Street, Suite 5000
                                              Dallas, Texas 75201
                                              Telephone (214) 747-5070
                                              Facsimile (214) 747-2091


                                                COUNSEL FOR DEFENDANT
                                                DEXCOM, INC.




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing

 document has been served on February 16, 2024, to all counsel of record who are deemed to have

 consented to electronic service via the Court’s CM/ECF system.

                                                           /s/ Aaron P. Pirouznia
                                                           Aaron P. Pirouznia
